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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 IN RE AXON VIEVU ANTITRUST                            Case No. 3:23-CV-7182-RK-RLS
 LITIGATION
                                                       [PROPOSED] INITIAL DISCOVERY
                                                       PLAN




                          [PROPOSED] INITIAL DISCOVERY PLAN



        Plaintiffs the Township of Holmdel, Monmouth County, New Jersey; the Mayor and City

Council of Baltimore; and LaSalle County, Illinois (together, “Plaintiffs”), on behalf of themselves

and all others similarly situated, and Defendants Axon Enterprise, Inc. and Safariland, LLC

(individually, “Axon” and “Safariland,” respectively, and together, “Defendants”), present the

following Initial Discovery Plan.

        This Initial Discovery Plan is intended to conserve judicial and party resources, serve the

convenience of the parties and witnesses, and promote the just and efficient conduct of this

litigation.

    1. Brief description of the case, including the causes of action and defenses asserted.

              a. Plaintiffs’ description

        Plaintiffs’ Second Consolidated Amended Complaint (“Complaint”) (ECF No. 120)

describes how, in 2018, Defendant Axon—already dominant in the market for body-worn camera

systems (“BWC Systems”) 1—brazenly cemented and increased its dominance in this market by



        1
            Per the Complaint, BWC Systems are defined to include “[body-worn cameras
(“BWCs”)], digital evidence management systems (“DEMS”), docks, and related services such as
transcription, redaction, and warranties.” Complaint ¶ 1.
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buying its largest and most significant BWC Systems competitor, Vievu LLC (“Vievu”), from

Defendant Safariland (the “Acquisition”). Concurrently with this acquisition, Axon and Safariland

entered into several related non-competition agreements (the “Non-Competes”) that prohibited

Safariland from competing in the BWC Systems market for more than 10 years. 2 Plaintiffs allege

that the Acquisition and Non-Competes unlawfully reduced competition in the BWC Systems

market, resulting in higher prices, lower output, and reduced quality and innovation. Indeed, the

Complaint presents striking evidence of the harms that have resulted to competition and to

customers in particular, citing price and profit data taken straight from Axon’s own SEC filings to

show how, for example, the Acquisition and the Non-Competes put an end to an admitted “price

war” that had been raging between Axon and Vievu, and allowed Axon to nearly triple its BWC

Systems prices and quadruple its BWC System profit margins in the years following the

Acquisition, as illustrated by the following charts:




       2
         Although Defendants assert that the Non-Competes were “short-lived,” the agreements
were only rescinded after the FTC challenged those agreements and the acquisition as unlawful.
See Decision and Order, Axon Enters., Inc., FTC Docket No. 9389 (June 16, 2020).


                                                 2
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      Plaintiffs’ claims and causes of action are:

      Count I against Axon pursuant to Section 7 of Clayton Act, 15 U.S.C. § 18;


                                                3
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       Count II against Axon and Safariland for a conspiracy in restraint of trade, in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1;

       Count III against Axon for unlawful monopolization in violation of Section 2 of the

Sherman Act, 15 U.S.C. § 2;

       Count IV against Axon for attempted unlawful monopolization in violation of Section 2 of

the Sherman Act, 15 U.S.C. § 2;

       Count V against Axon and Safariland for conspiracy to monopolize in violation of Section

2 of the Sherman Act, 15 U.S.C. § 2. 3

       Pursuant to Rules 23(a), 23(b)(2), and (b)(3) of the Federal Rules of Civil Procedure,

Plaintiffs seek to represent a class of all persons or entities, except federal and state government

entities, 4 who have directly purchased BWC Systems or their components from Axon since the

Acquisition until the effects of Defendants’ unlawful conduct cease (the “Class Period”). Plaintiffs

seek damages for harms suffered as a result of Defendants’ violations, including overcharges on

BWC Systems and their components, as well as injunctive relief. 5




       3
         Plaintiffs’ First Consolidated Amended Complaint contained additional claims that were
dismissed by the Court’s January 31, 2025 opinion and order (ECF Nos. 101, 102).
       4
          The proposed class excludes “Defendants; the officers, directors, and employees of
Defendants; any entity in which Defendants have a controlling interest; and any affiliate, legal
representative, heir, or assign of Defendants. Also excluded from the Class are: federal and state
government entities; any judicial officer presiding over this action and the members of his/her
immediate family and judicial staff; any juror assigned to this action; and any co-conspirator
identified in this action.” Compl. ¶ 139.
       5
           The Court dismissed Plaintiffs’ claims for injunctive relief without prejudice, see Order
dated Jan. 31, 2025 at 2, and Plaintiffs’ operative Complaint repleaded those claims with additional
factual allegations.


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             b. Defendants’ description

       Plaintiffs’ action is premised on the misguided belief that Axon’s reputation as a leader in

the sale of BWCs and DEMS evidences anticompetitive conduct. That is wrong. Rather, Axon’s

position evidences its superior products, its commitment to innovation, its unparalleled customer

service, and responsiveness to customer needs. That is the very essence of pro-competitive

conduct. 6

       In the seven-years since Axon acquired Vievu from Safariland, customers have benefitted

from increased innovation and competition in both BWCs and DEMS. Today, leading technology

companies including Motorola, Panasonic, Utility, and Getac compete alongside Axon in highly

competitive bidding processes to serve, primarily, law enforcement customers. Vievu’s exit from

the market in 2018 was the product of its dire financial situation—not an anticompetitive

transaction. At the time of the acquisition, Vievu suffered from steep and unsustainable financial

losses, had only days’ worth of operating capital, and grossly under-funded critical research-and-

development efforts for these high-tech products. The assertion that “but for” the transaction

Vievu would be a competitive constraint on Axon or other competitors today—much less in 2018

or 2019—is pure myth-making.

       Nor were there any “market allocation” or conspiracy agreements between Axon and

Safariland that restrained trade. Safariland sold its failing BWC/DEMS business unit (Vievu) after

sustaining millions of dollars in losses and had no intention of ever reentering this software-

dominated market. Similarly, Safariland did not and never intended to compete with Axon in the



       6
          Plaintiffs’ claims, as laid out in the charts above, about Axon’s post-acquisition pricing
of and gross margins on BWCs and DEMS misunderstand Axon’s financial reports, conflate
products, fail to account for product developments and improvements, and are devoid of essential
context necessary to understand changes in Axon’s financial performance over time.


                                                 5
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conducted energy weapon (“CEW”) space. The parties’ short-lived non-compete provisions—

rescinded in January 2020 before the FTC resolved its claims against Safariland—were instead

intended to protect Axon’s proprietary information during Safariland’s development of holsters

for next generation TASER® energy weapons. And despite the Court’s dismissal of all CEW-based

claims, Plaintiffs’ Complaint continues to make much ado about Defendants’ irrelevant ancillary

holster supply agreement.

       In addition to failing on the merits, Plaintiffs’ action cannot proceed on a class wide basis

because, among other reasons, their claims lack commonality under Rule 23(a)(2) and individual

issues predominate over common ones in contravention Rule 23(b)(3). Axon’s customer contracts

are individually negotiated and discounted; involve vastly different combinations of products and

licenses based on agency needs, size and budget; utilize a wide variety of geographic and

department-specific procurement processes, including RFP competitive bidding, cooperative

agreements, and purchase orders; and are subject to approval processes under a multitude of local

ordinances.

   2. Description of all discovery conducted by the parties to date.

       On March 5, 2025, Magistrate Judge Singh ordered the parties to have a Rule 26(f)

conference on or before April 29, 2025. (ECF No. 119.) The parties met on April 17, 2025 and

April 29, 2025. Magistrate Judge Singh further ordered that a Rule 16 conference will be held on

May 20, 2025. (Id.) Given the Court’s Order staying discovery pending the motions to dismiss,

(ECF No. 73), the parties have not substantially engaged in discovery efforts to date.

   3. Description of all discovery problems encountered to date, efforts undertaken to
      remedy these problems, and suggested resolution.

       None.

   4. Description of further discovery needs.



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              a. Discovery is needed on the following subjects:

        Plaintiffs’ Position:

        Plaintiffs anticipate requiring fact and/or expert discovery on all remaining issues raised

by the Complaint and any Answer and/or Counterclaim raised by Defendants, including but not

limited to:

              •   Discovery produced or conducted in the FTC action. Production of the discovery
                  from the FTC action is appropriate and proportional to the needs of the case, would
                  impose only minimal burden on Defendants, and would facilitate the expeditious
                  resolution of this case. As the Court noted in its Opinion on Defendants’ motions
                  to dismiss, “there is significant overlap between the BWC System products
                  included in both actions.” (ECF No. 101 at 47.) Indeed, Plaintiffs’ claims are
                  nearly identical to and wholly encompass the FTC’s claims. Accordingly, the Court
                  found that “there is substantial identity between the FTC action and this case even
                  with the inclusion of a few additional, ancillary BWC-related products.” (Id.)
                  Defendants argue the FTC action involved “a different relevant market of
                  customers as well as a different product market.” As a threshold matter, neither
                  Sections 1 nor 2 of the Sherman Act require a showing of a relevant market of
                  customers. Moreover, the FTC’s proposed market was narrower than Plaintiffs’ (as
                  Defendants conceded in their motions to dismiss 7), meaning the entirety of the FTC
                  action is relevant here. Thus, the discovery sought from the FTC action is wholly
                  within the scope of and relevant to this case. Further, courts routinely order the
                  production of discovery previously produced during government investigations.
                  See, e.g., Westinghouse Elec. Corp. v. Republic of the Philippines, 951 F.2d 1414,
                  1420 (3d Cir. 1991); Univ. of Mass. v. L’Oreal United States, Inc., No. 17-CV-868,
                  2020 WL 3048156 (D. Del. June 8, 2020) (affirming order requiring production of
                  documents produced to FTC in prior investigation); In re Blood Reagents Antitrust
                  Litig., 756 F. Supp. 2d 623, 633–34 (E.D. Pa. 2010) (finding “plaintiffs are entitled
                  to discovery,” including “the documents defendants have already turned over to the
                  Federal Trade Commission and the Department of Justice”).
              •   Documents related to Axon’s acquisition of Vievu from Safariland;



        7
          See ECF 76-1 (Axon MTD) at 23-24 (explaining that Plaintiffs’ proposed “BWC System
Market is defined distinctly from, and more broadly than, the FTC’s market. While the FTC action
related solely to BWCs themselves and DEMS . . . plaintiffs here have lumped together a variety
of ancillary products and services well beyond BWCs and DEMS . . . Moreover, the FTC action
specifically limited the ‘relevant market’ to ‘large, metropolitan police departments.’ . . . Plaintiffs,
on the other hand, significantly expand the relevant market to any sales of BWC Systems to anyone
in the United States . . .”); ECF 78-2 at 24 (Safariland MTD) (adopting and incorporating the
quoted portion of Axon’s brief, by reference).


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           •   Data and documents related to Axon’s pricing of BWC Systems and competition
               in the BWC Systems market;
           •   Documents regarding Defendants’ analyses of market conditions, including actual
               and potential competition, market concentration, and Axon’s degree of market
               power or monopoly power in those markets;
           •   Records and structured data reflecting Axon’s sales of BWC Systems, including
               pricing, discounts, rebates, exclusivity, and other terms and conditions.
       The foregoing list is not exhaustive and is without prejudice to Plaintiffs’ right to designate

additional topics for discovery, which is expressly reserved.

       Defendants’ Position:

       Defendants anticipate fact and/or expert discovery will include:

           •   Discovery on named plaintiffs’ and certain putative class members’ purchase of the
               relevant products, including the development of their product specifications, their
               respective bidding, procurement and contracting processes.

           •   Documents regarding named plaintiffs’ and certain putative class members’ testing
               and evaluation of Defendants’ and competing products.

           •   Discovery from other manufacturers and seller of BWCs and DEMS regarding
               competition for sales, product development and innovation, and other market
               dynamics that prevent Defendants from obtaining or exercising “market power.”

           •   As set forth in the Parties’ letter practice of March 13, 2024, Defendants do not
               agree that discovery of the full FTC record is either appropriate or proportional to
               the needs of the case. That case involved a different relevant market of customers
               as well as a different product market. Further, it is particularly inappropriate,
               where, as here, Plaintiffs indicate they intend to take discovery of “[d]ocuments
               related to Axon’s acquisition of Vievu from Safariland” beyond the discovery taken
               in the FTC matter. See U.S. v. Anthem, Inc., 2024 WL 1116276 (permitting limited
               re-production of discovery in prior matter where it fully satisfied several RFPs and
               where court imposed additional limits on scope of re-production including reduced
               custodians, revised date limits, and removal of irrelevant materials). Nonetheless,
               the Parties will meet and confer about any request for clone discovery when served.

       The foregoing list is not exhaustive and is without prejudice to Defendants’ right to

designate additional topics for discovery, which is expressly reserved.

   5. Estimate of time needed to complete fact discovery and proposed discovery schedule.

       The parties’ competing discovery proposals are outlined below.


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           a. Proposed Schedule

       Plaintiffs’ Proposed Schedule:

       Plaintiffs’ proposed schedule is set forth in the table below. Plaintiffs oppose Defendants’

proposal to “sequenc[e]” class certification and summary judgment—setting only a case

management schedule through class certification. Where, as here, the issues to be addressed at

class certification and summary judgment are inextricably intertwined, there are no efficiencies to

be gained by delaying setting a schedule for summary judgment briefing. See, e.g., In re Copaxone

Antitrust Litig., 2024 WL 5203037(D.N.J. Nov. 25, 2024) (setting case management schedule

through class certification and summary judgment); In re Metformin Mktg. Litig., 2023 WL

2324769(D.N.J. Mar. 2, 2023) (ordering parties to propose a case management schedule through

summary judgment). Defendants’ argument that since “this action is premised on Axon’s

acquisition of Vievu, matters that may require expert testimony, like Failing Firm or Division,

have absolutely no bearing on class certification” misstates the law. The legality of that acquisition

is one of many common issues among the class members that support predominance and

certification. See Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (“The predominance

inquiry asks whether the common, aggregation-enabling, issues in the case are more prevalent or

important than the non-common, aggregation-defeating, individual issues.” (internal quotation

marks omitted)); In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283,

310 (3d Cir. 1998) (observing that “affirmative defenses which were common to all class members

. . . independently would satisfy the predominance requirement”); see also In re Axon Vievu

Antitrust Litig., 2025 WL 336751, at *18 (D.N.J. Jan. 31, 2025) (Kirsch, J.) (“[The] Sherman Act

and Clayton Act claims and their elements are most relevant to the question of predominance.”).

       Plaintiffs also propose that the parties combine class and merits expert reports and

discovery rather than having two separate rounds of expert reports and discovery, one for class


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 issues and another for merits issues, as Defendants propose. “[C]lass determination generally

 involves considerations that are enmeshed in the factual and legal issues comprising the plaintiff’s

 cause of action.” Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013) (citation omitted). Because

 of this overlap, “class” reports and “merits” reports are likely to overlap substantially. Thus, as

 courts increasingly recognize, bifurcation of expert reports and depositions into two phases would

 be inefficient and redundant, adding substantial expense and more work for the Court. Attached

 as exhibits are examples of scheduling orders in which courts have required the parties to conclude

 expert discovery before class certification. See e.g., Ex. 1 Order, Uriel Pharm. Health & Welfare

 Plan v. Advocate Aurora Health, Inc., No. 22-cv-610 (E.D. Wisc. Aug. 16, 2023), ECF No. 41;

 Ex. 2 Pretrial Order No. 5, In re: Google Digital Advertising Antitrust Litig., No. 21-md-3010

 (S.D.N.Y. Nov. 21, 2022), ECF No. 394; Ex. 3, Case Mgmt. Order #1, Carbone v. Brown Univ.,

 No. 22-cv-00125 (N.D. Ill. Aug. 26, 2022), ECF No. 195; Ex. 4 Stipulated Order Regarding Am.

 Case Schedule As Modified, Simon and Simon, PC. v. Align Tech., Inc., No. 20-cv-03754 (N.D.

 Cal. May 18, 2021), ECF No. 106; Ex. 5 Scheduling Order, Fusion Elite All Stars, et al. v. Varsity

 Brands, LLC, et al. No. 20-cv-2600 (W.D. Tenn. Oct. 15, 2020), ECF No. 61; Ex. 6, Case Mgmt.

 Order No. 1, In re Broiler Chicken Grower Antitrust Litig., No. 17-cv-00033 (E.D. Okla. Apr. 13,

 2020), ECF No. 312; Ex. 7, Scheduling Order, In re Dental Supplies Antitrust Litig., No. 16-cv-

 696 (E.D.N.Y. Apr. 10, 2017), ECF No. 177.

        Defendants’ Proposed Schedule:

        Defendants believe that, far from being “inextricably intertwined,” the class certification

 issues here are distinct from the antitrust merits. As this action is premised on Axon’s acquisition

 of Vievu, matters that may require expert testimony, like Failing Firm or Division, have absolutely

 no bearing on class certifications. And, as discussed in Section 1 above, named Plaintiffs—and




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 putative class members—purchased varying combinations of products and licenses based on their

 respective agency’s needs, size and budget. They each utilize different procurement processes,

 including RFP competitive bidding, cooperative agreements, and purchase orders. Whether

 resolution of the named Plaintiffs’ claims can resolve claims of all putative class members is a

 significant question that ought to be decided before moving on to expert work on the merits of

 Plaintiffs’ claims. See Ex. 8, In re Cattle and Beef Antitrust Litig., No. 22-md-3031, Second Order

 Amending Case Schedule (D. Minn. March 5, 2024) (ECF 575) (continuing to set class

 certification experts and briefing before merits experts and summary judgment); see also Ex. 9, In

 re Insulin Pricing Litigation, No. 17-cv-699, Case Mgmt. Order No. 1 (D.N.J. Apr. 30, 2020) (ECF

 No. 334) (Ordering completion of class expert discovery and class certification briefing before

 opening merits expert discovery and summary judgment).



                                                                              Defendants’
                                                   Plaintiffs’ Proposed
                      Event                                                   Proposed
                                                   Deadline/Date
                                                                              Deadline/Date
  Rule 26(f) conference                            April 29, 2025             April 29, 2025
  Rule 26(a) initial disclosures                   May 13, 2025               May 13, 2025
  Parties to serve first set of requests for
                                                   May 30, 2025               May 30, 2025
  production
  Parties file proposed confidentiality order,
  expert stipulation, and ESI protocol, or joint
                                                   June 5, 2025               June 5, 2025
  letter to Court outlining dispute and
  requesting a briefing schedule
  Defendants’ production of any agreed
                                                   July 29, 2025              July 29, 2025
  discovery from FTC case 8




        8
           Defendants’ reserve their rights to object to the scope of Plaintiffs’ request for re-
 production of discovery matter produced in the FTC case. The Parties will meet and confer in
 good faith on those requests and objections.


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  Deadline to begin rolling production of
  other documents in response to first set of     August 26, 2025            August 26, 2025
  requests for production
  Deadline to produce structured data in
  response to first set of requests for           October 16, 2025           October 16, 2025
  production
  Deadline for substantial completion of
                                                  March 27, 2026             March 27, 2026
  document production
  Close of fact discovery                         October 29, 2026           October 29, 2026
  Plaintiffs’ deadline to serve expert reports
                                                  December 22, 2026          December 22, 2026
  on class certification 9
  Parties’ deadline to serve expert reports on
  merits issues on which they have the burden     December 22, 2026          To be determined
  of proof.
  Defendants’ deadline to serve rebuttal
                                                  March 3, 2027              March 3, 2027
  expert reports on class certification
  Defendants’ deadline to serve rebuttal
                                                  March 3, 2027              To be determined
  expert report on merits issues
  Plaintiffs’ deadline to serve reply expert
                                                  April 14, 2027             April 14, 2027
  reports on class certification
  Defendants’ deadline to serve reply expert
                                                  April 14, 2027             To be determined
  reports on merits issues
  Deadline to complete expert discovery on
                                                  May 21, 2027               May 21, 2027
  class certification
  Deadline to complete expert discovery on
                                                  May 21, 2027               To be determined
  merits issues
  Plaintiffs’ deadline to file motion for class
                                                  June 23, 2027              June 23, 2027
  certification
  Parties’ deadline to file Daubert motions on
                                                  June 30, 2027              June 30, 2027
  class certification experts.
  Defendants’ deadline to file briefs in
                                                  July 30, 2027              July 30, 2027
  opposition to class certification




        9
          Plaintiffs propose that class and merits expert discovery proceed in parallel. Defendants
 propose that class expert discovery proceed first, and merits expert discovery proceed, if and as
 necessary, following a decision on class certification.


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  Parties’ deadline to file oppositions to
  Daubert motions on class certification            August 6, 2027               August 6, 2027
  experts.
  Plaintiffs’ deadline to file reply in support
                                                    August 27, 2027              August 27, 2027
  of class certification
  Parties’ deadline to file replies in support of
  Daubert motions on class certification            September 2, 2027            September 2, 2027
  experts.
  Motion(s) for summary judgment and
                                                    November 5, 2027             To be determined
  Daubert of merits experts
  Opposition to motion(s) for summary
                                                    December 17, 2027            To be determined
  judgment and Daubert of merits experts
  Reply memorandum/a in support of
  motion(s) for summary judgment and                January 14, 2028             To be determined
  Daubert of merits experts
  Summary judgment hearing                          To be set by Court           To be determined
  Pre-trial conference                              To be set by Court           To be determined
  Trial                                             1 month after Pre-Trial
                                                    Conference, or as            To be determined
                                                    convenient for the Court

    6. Statement regarding whether expert testimony will be necessary and the anticipated
       schedule for retention of experts and submission of their reports.

          The parties anticipate presenting expert testimony and adhering to the above-proposed

 schedule for submission of expert reports and will retain experts in accordance with the same.

    7. Statement regarding whether there should be any limitations placed upon use of any
       discovery device and, if so, the reasons the limitation is sought.

          The Parties agree to the following limitations:
             1. Privilege Logs must be provided within 50 days of each production from which
                documents are withheld.
             2. All requests for production must be served at least 75 days before the end of fact
                discovery. All Interrogatories and Requests for Admission must be served at least
                45 days before the end of fact discovery.
             3. All depositions must be noticed at least 45 days before the end of fact discovery.




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            4. Absent agreement of the Parties, or a Court order, each expert is subject to a
               maximum of one deposition lasting no more than seven hours.


    8. Description of any special discovery needs of the parties (e.g., videotape, telephone
       depositions, or problems with out-of-state witnesses or documents, or discovery of
       digital information.

        The parties are unaware of any special discovery needs at this time. The parties intend to

 negotiate a deposition protocol that would address any special discovery needs, including the

 number of depositions and other issues to be determined to ensure a smooth and efficient discovery

 process. The protocol will also address any agreements on the use of remote depositions and

 related procedures.

    9. Statement regarding whether entry of a Confidentiality Order will be requested.

        The parties anticipate negotiating and filing a stipulated Confidentiality Order.

    10. Identify any other issues to address at the Rule 16 Scheduling Conference.

        The Parties respectfully request bi-monthly status conferences to discuss any discovery or

 case scheduling issues as they arise.



 Dated: May 6, 2025

   /s/ Liza M. Walsh                                  /s/ Michael D. Fitzgerald
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